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                      UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF LOUISIANA

GREGORY J. STEWART                                       CIVIL ACTION

VERSUS                                                   NO. 20-3338

PARAKOU SHIPPING, LTD.,                                  SECTION “B”(3)
ET AL.

                                  ORDER

     IT IS ORDERED that plaintiff Gregory J. Stewart’s “Unopposed

Motion to Continue Pretrial Deadlines” (Rec. Doc. 10) is GRANTED

as limited herein.    The Scheduling Order (Rec. Doc. 9) is amended

to provide as follows:

     (1)   written reports of plaintiff’s experts related to the

     inspection of M/V CP Tianjin shall be delivered to counsel

     for defendants no later than September 20, 2021.           All other

     expert deadlines shall remain in place as scheduled for August

     20, 2021;

     (2)   written reports of defendants’ experts related to the

     inspection of M/V CP Tianjin shall be delivered to counsel

     for plaintiff no later than October 20, 2021.             All other

     expert deadlines shall remain in place as scheduled for

     September 20, 2021; and

     (3)   the deadline for depositions and other discovery related

     to the inspection of the M/V CP Tianjin and the parties’

     vessel inspection experts shall be completed no later than
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     November 5, 2021.      The discovery completion deadline as to

     all other matters shall remain October 19, 2021.

     IT IS FURTHER ORDERED that all other deadlines including the

pretrial conference and trial dates in the Court’s Scheduling Order

(Rec. Doc. 9) shall remain undisturbed.

     New Orleans, Louisiana this 6th day of August, 2021



                                  ___________________________________
                                  SENIOR UNITED STATES DISTRICT JUDGE
